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 1 BENJAMIN B. WAGNER
   United States Attorney
 2 TODD A. PICKLES
   LEE S. BICKLEY
 3 Assistant United States Attorneys
   501 I Street, Suite 10-100
 4 Sacramento, CA 95814
   Telephone: (916) 554-2700
 5 Facsimile: (916) 554-2900

 6 Attorneys for Plaintiff
   United States of America
 7

 8                                  IN THE UNITED STATES DISTRICT COURT

 9                                 FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:12-CR-00327 WBS

12                                    Plaintiff,         STIPULATION TO CONTINUE JUDGMENT AND
                                                         SENTECING HEARING; [PROPOSED] ORDER
13                            v.

14   ZINAYDA CHEKAYDA, et al.,

15                                    Defendants.

16

17                                                  STIPULATION
18          Plaintiff United States of America, by and through its counsel of record, and defendants Zinayda
19 Chekayda and Serge Doubinski, by and through their counsel of record, hereby stipulate as follows:

20          1.       By previous order, this matter was set for judgment and sentencing hearing on November
21 10, 2014.

22          2.       By this stipulation, the parties jointly move the Court to continue the judgment and
23 sentencing hearing to July 13, 2015, at 9:30, which date is after the trial of defendant Diana Woods in

24 related case 2:12-cr-00330 WBS.

25          3.       Because the defendants stand convicted of misprision of felony, 18 U.S.C. § 4, the
26 provisions of the Speedy Trial Act, 18 U.S.C. § 3161, et seq., do not apply to this stipulation and the
27 continuance of the date for judgment and sentencing.

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     Stipulation for Continuance of Judgment and          1
     Sentencing
30
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 1          IT IS SO STIPULATED.

 2 DATED: November 4, 2014                               BENJAMIN B. WAGNER
                                                         United States Attorney
 3
                                                         /s/ Todd A. Pickles
 4                                                       TODD A. PICKLES
                                                         LEE S. BICKLEY
 5                                                       Assistant United States Attorneys

 6                                                       For the UNITED STATES OF AMERICA

 7

 8 DATED: November 4, 2014                               /s/ Todd A. Pickles for
                                                         SCOTT CAMERON, ESQ.
 9
                                                         For defendant ZINAYDA CHEKAYDA
10

11 DATED: November 4, 2014                               SUGARMAN & CANNON

12                                                       /s/ Todd A. Pickles for
                                                         CHRISTOPHER CANNON, ESQ.
13
                                                         For defendant SERGE DOUBINSKI
14

15

16                                                 ORDER

17          For the reasons set forth in the parties’ stipulation and for good cause showing, the Court hereby

18 ADOPTS the parties’ stipulation and orders that the judgment and sentencing hearing in this matter be

19 continued to July 13, 2015 at 9:30 a.m. The dates for submission of all informal and formal objections

20 and sentencing memoranda shall be reset based on the new hearing date.

21          IT IS SO ORDERED.

22 Dated: November 4, 2014

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     Stipulation for Continuance of Judgment and         2
     Sentencing
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